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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                    CR 1:15-077

CHARVIS LAWRENCE




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Dwight L. Thomas, having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Dwight L. Thomas be granted leave of

absence for the following periods: February 5, 2016; March 9-11, 2016; March

14, 2016; April 28-29, 2016; May 2, 2016; May 27, 2016; May 31, 2016; July

21-22, 2016; July 25-29, 2016; August 1-5, 2016; August 8-10, 2016.

      This <£J .day of January, 2016.



                                                                    ,HALL
                                         UnitedS/ates District Judge
                                                  District of Georgia
